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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

    HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                  §
                                     Plaintiff,                   §   Case No. 3:21-cv-00881-X
                                                                  §
    vs.                                                           §
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT FUND                              §   (Consolidated with 3:21-cv-00880-
    ADVISORS, L.P., et al.,                                       §   X, 3:21-cv-01010-X, 3:21-cv-01378-
                                                                  §   X, 3:21-cv-01379-X)
                                     Defendants.                  §
                                                                  §

          HIGHLAND CAPITAL MANAGEMENT, L.P.’S MEMORANDUM OF LAW IN
              SUPPORT OF ITS MOTION TO DEEM THE DONDERO ENTITIES
                 VEXATIOUS LITIGANTS AND FOR RELATED RELIEF 1


1
 This Memorandum of Law is in excess of the page limits and is being filed pursuant to this Court’s order entered on
July 6, 2023 [Docket No. 132].



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         Highland Capital Management, L.P. (“HCMLP”), by and through its undersigned counsel,

submits this Memorandum of Law 1 in support of its motion (the “Motion”) to deem the above-

captioned defendants, their affiliated entities, and any person or entity controlled by or acting in

concert with James Dondero (collectively, the “Dondero Entities”) 2 vexatious litigants and for

related relief. In support of the Motion, HCMLP states as follows:

                                 I.       PRELIMINARY STATEMENT 3

         1.       The Dondero Entities—all of which are dominated and controlled by or acting in

concert with Dondero, HCMLP’s co-founder and ousted Chief Executive Officer—are engaged in

a coordinated litigation strategy spanning nearly three years to wear down HCMLP and its

management and undermine HCMLP’s confirmed Plan. The Dondero Entities have clogged the

dockets of this Court, the Bankruptcy Court, and the Fifth Circuit and have wasted untold judicial

and estate resources. Accordingly, HCMLP asks this Court to (a) declare the Dondero Entities

vexatious, (b) enjoin them from commencing or pursuing any claim or cause of action in this Court

or the Bankruptcy Court against any “Covered Party” without this Court’s written permission, and

(c) require that they file a copy of this Court’s order finding them vexatious in any pending or

future litigation or proceeding.




1
  HCMLP is concurrently filing its Appendix in Support of Motion to Deem the Dondero Entities Vexatious Litigants
and for Related Relief (the “Appendix”). Citations to the Appendix are notated as “Ex. #, Appx. #.”
2
  “Dondero Entities” refers, collectively, to (a) Dondero, (b) NexPoint Advisors, L.P. (“NPA”), (c) Highland Capital
Management Fund Advisors, L.P., n/k/a NexPoint Asset Management, L.P. (“HCMFA”), (d) HCRE Partners LLC
n/k/a NexPoint Real Estate Partners LLC (“HCRE”), (e) Highland Capital Management Services, Inc., (f) Nancy
Dondero, and (g) any entity directly or indirectly controlled by, or acting in concert with, Dondero, including, without
limitation, (i) The Charitable DAF Fund, L.P. (“DAF”), (ii) CLO HoldCo, Ltd. (“CLOH”), (iii) The Dugaboy
Investment Trust (“Dugaboy”), (iv) Get Good Investment Trust (“Get Good”), (v) Hunter Mountain Investment Trust
(“HMIT”), (vi) NexPoint Strategic Opportunities Fund n/k/a NexPoint Diversified Real Estate (“NSOF”), (vii)
Highland Income Fund, (viii) Highland Fixed Income Fund, (ix) Highland Global Allocation Fund, (x) NexPoint
Capital, Inc., (xi) Strand Advisors, Inc., (xii) The Get Good Non-Exempt Trust 1, (xiii) The Get Good Non-Exempt
Trust 2, and (xiv) PCMG Trading Partners XXIII, L.P. (“PCMG”).
3
  Capitalized terms in this Preliminary Statement have the meanings given to them below.

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        2.       Dondero’s “strategy” is not new; he has used litigation as a weapon to harass and

exact revenge against his perceived enemies for years. Prior to its 2019 bankruptcy, Dondero

fostered a culture of scorched-earth, vindictive litigation at HCMLP, suing anyone who challenged

him or refused to cave to his demands. That culture spawned litigation in courts and arbitration

panels in Texas, Delaware, New York, and foreign jurisdictions like the Cayman Islands,

Bermuda, and Guernsey lasting more than a decade.

        3.       But Dondero’s litigation “strategy” caught up with him. A series of adverse rulings

forced HCMLP to file bankruptcy in October 2019. HCMLP’s unsecured creditors Committee was

comprised largely of litigation claimants who were intimately familiar with Dondero’s tactics. The

Committee immediately sought to remove Dondero from control of HCMLP. To avoid

appointment of a chapter 11 trustee, HCMLP, Dondero, and the Committee entered into a

settlement in January 2020, which removed Dondero and appointed an Independent Board to

manage and oversee HCMLP’s bankruptcy.

        4.       In late 2020, after the Committee rejected Dondero’s settlement offers as

inadequate—thus blocking Dondero’s efforts to regain control of HCMLP—he vowed to “burn

down the place” unless they capitulated to his demands. Thereafter, directly and through the

Dondero Entities, he began interfering with the management of the estate, threatening HCMLP

employees, challenging nearly every action taken to further HCMLP’s reorganization,

commencing new (and frivolous) litigation against HCMLP and its management both inside and

outside of the Bankruptcy Court, violating Bankruptcy Court orders, filing multiple motions to

recuse, and appealing nearly everything resulting in nearly 30 total appeals. 4


4
  With a few narrow exceptions, these appeals have been rejected and reviewing courts have sometimes been blunt in
their characterization. For example, this Court expressed its belief that Dondero’s arguments were intended to
“bamboozle” (see ¶ 27 infra), and the Fifth Circuit described the Dondero Entities’ collective objections to
confirmation as “blunderbuss” (see ¶ 17 infra).

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         5.      Despite the Dondero Entities’ roadblocks, in February 2021, the Bankruptcy Court

confirmed HCMLP’s Plan, which included a Gatekeeper provision preventing the Dondero

Entities from suing HCMLP, its employees, and its management without leave of the Bankruptcy

Court. The Fifth Circuit affirmed the Confirmation Order, including the Gatekeeper, in all material

respects but remanded solely to limit the parties exculpated by the Plan. On remand, the Dondero

Entities blatantly mischaracterized the Fifth Circuit’s ruling, wrongly asserting the Fifth Circuit

had severely limited the Gatekeeper. The Bankruptcy Court rejected this assertion and entered an

order conforming the Plan without changing the Gatekeeper. The Dondero Entities immediately

appealed and have indicated that, if they ever succeed in overturning the Gatekeeper, they will

flood the estate with more harassing and meritless litigation. 5

         6.      The Dondero Entities are the only entities currently litigating with the estate.

Accordingly, to protect its estate, the bankruptcy process, and the court system, HCMLP asks this

Court to deem the Dondero Entities vexatious and grant such further relief as set forth herein.

                                          II.      BACKGROUND

A.       HCMLP’s Prepetition Culture of Litigation

         7.      HCMLP was founded in 1993 by James Dondero and Mark Okada (who resigned

pre-bankruptcy) and was controlled by Dondero as the owner and sole director of its general

partner. At its peak, HCMLP was a global investment adviser managing nearly $40 billion, and,

for most of its history, was successful. Its bankruptcy was not caused by a business calamity.

“Rather, [HCMLP] filed for Chapter 11 protection due to a myriad of massive, unrelated, business

litigation claims that it faced—many of which had finally become liquidated (or were about to



5
  Dondero’s proclivity for frivolous litigation is so well known that HCMLP was unable to obtain cost-effective
insurance because the insurance market refuses to insure the risk of Dondero’s vexatiousness, calling it the “Dondero
Exclusion.” See ¶ 25 infra.

                                                         3
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become liquidated) after a decade or more of contentious litigation in multiple forums all over the

world.” 6 For example:

•       UBS: UBS Securities LLC and UBS AG, London Branch (collectively, “UBS”), sued two

funds controlled by HCMLP in 2009 in New York state court for breach of contract. After

discovering HCMLP—through Dondero—had orchestrated a series of frauds that rendered the

funds judgment-proof, UBS named HCMLP and others as defendants. In February 2020, a $1

billion-plus judgment was entered against the two HCMLP funds, 7 which UBS sought to recover

from HCMLP alleging, among other things, alter ego liability. 8 This litigation continues.

•       Patrick Daugherty: Daugherty was a HCMLP employee and limited partner who resigned

in 2011. Thereafter, Dondero, directly and by proxy, began a campaign to deprive Daugherty of

income earned at HCMLP. After Daugherty prevailed against certain affiliated entities, Dondero

orchestrated a series of fraudulent transfers that left those entities judgment-proof. Dondero’s

actions led the Delaware Chancery Court to find “a reasonable basis to believe that a fraud has

been perpetrated” and to apply the “crime-fraud exception” to Dondero confederates’ assertions

of attorney-client privilege. 9 This litigation continues.

•       Redeemer Committee: In 2011, a Redeemer Committee was appointed by a Bermudian

court to oversee the wind-down of the Highland Crusader Fund because of concerns with

Dondero’s stewardship. Disputes arose, and, in 2016, the Redeemer Committee terminated



6
   See Order Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as
Modified) and (ii) Granting Related Relief, B.D.I. 1943 (“Confirmation Order”) ¶ 8. “B.D.I.” refers to the docket
maintained in Case No. 19-34054-sgj11 (Bankr. N.D. Tex.).
7
  Judgment, Index No.: 650097/2009, NYSCEF Doc. No. 646 (N.Y. Sup. Feb. 10, 2020), Ex. 2, Appx. 17-21; Decision
and Order After Trial, Index No. 650097/2009, NYSCEF Doc. No. 650 (N.Y. Sup. Sept. 14, 2020), Ex. 3, Appx. 22-
62.
8
  Proofs of Claim No. 190, 191, Exs. 4-5, Appx. 63-306.
9
  Daugherty v. Highland Cap. Mgmt., L.P., C.A. No. 2018-0488-MTZ, May 17, 2019 Trans. (bench ruling on motion
to compel production of documents) at 10-15, Ex. 6, Appx. 317-322.

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HCMLP as investment manager and commenced binding arbitration alleging, among other things,

that HCMLP had converted over $30 million, breached its fiduciary duties, and engaged in other

misconduct. In March 2019, the arbitration panel (a) rejected HCMLP’s arguments; (b) made

highly critical assessments of the credibility of HCMLP’s witnesses; (c) found HCMLP breached

its fiduciary duties and certain agreements and engaged in other wrongful conduct; and (d) awarded

the Redeemer Committee more than $190 million. 10

•       Acis: Joshua Terry was a HCMLP employee and limited partner of a former HCMLP

affiliate, Acis Capital Management, L.P. (“Acis”), who was terminated in June 2016. Terry

subsequently obtained an $8 million arbitration award against Acis. Rather than satisfying the

award, Dondero followed his playbook by stripping Acis of assets and taking other vindictive

actions against Terry, including converting Terry’s and his wife’s retirement account. Unable to

collect, Terry filed an involuntary bankruptcy petition against Acis in the Bankruptcy Court in

2018, resulting in the appointment of a chapter 11 trustee. The bankruptcy was marked by




10
   Partial Final Award rendered in the arbitration captioned Redeemer Comm. of the Highland Crusader Fund v.
Highland Cap. Mgmt., L.P., Case No. 01-16-0002-6927. Ex. 7, Appx. 405-467. The Partial Final Award was
incorporated into the arbitration panel’s final award. Final Award, Case No. 01-16-0002-6927 (Ex. 8, Appx. 468-
491).

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extraordinarily acrimonious litigation, 11 but, ultimately, Acis’s plan transferred ownership of Acis

to Terry. 12 Dondero’s war against Terry and Acis continues. 13

        8.       HCMLP’s culture of litigation—of which the foregoing are only examples—

ultimately forced HCMLP to seek bankruptcy protection. 14

B.      HCMLP Files Bankruptcy; the Independent Board Is Appointed;
        Negotiations Commence

        9.       On October 16, 2019 (the “Petition Date”), Dondero caused HCMLP to file a

voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Bankruptcy Case”) in

the U.S. Bankruptcy Court for the District of Delaware, and HCMLP’s statutory committee of

unsecured creditors (the “Committee”) was appointed. Three of the four members of the

Committee—Acis, UBS, and the Redeemer Committee—held litigation claims against HCMLP

and the other was an e-discovery vendor. 15




11
   See, e.g., In re Acis Cap. Mgmt., L.P., 584 B.R. 115 (Bankr. N.D. Tex. 2018).
12
   Findings of Fact, Conclusions of Law, and Order Granting Final Approval of Disclosure Statement and Confirming
the Third Amended Joint Plan for Acis Capital Management, L.P. and Acis Capital Management GP, LLC, as
Modified, Case No. 18-30264-sgj11, Docket No. 829 (Bankr. N.D. Tex. Jan. 31, 2019). The Dondero Entities, of
course, appealed the Acis confirmation order; their appeals were denied. See Case No. 3:19-cv-00291-D, Docket No.
75 (N.D. Tex. July 18, 2019); Case No. 19-10847 (5th Cir. June 17, 2021).
13
   Immediately after the expiration of the injunction in Acis’ plan, Dondero—through NSOF—filed suit against Acis,
Terry, and others in the Southern District of New York alleging they violated their fiduciary duties to NSOF as an
investor in a CLO managed by Acis (and which had been managed by Dondero prior to the Acis bankruptcy). Civ.
Case No. 21-cv-04384-GHW (S.D.N.Y. May 14, 2021). Dondero’s litigation caused Acis to halt distributions from
its managed CLOs thus depriving HCMLP of approximately $20 million in proceeds. The Southern District of New
York dismissed Dondero’s litigation. NexPoint Diversified Real Estate Tr. v. Acis Cap. Mgmt., L.P., 620 F.Supp. 3d
36 (S.D.N.Y. 2022). Undeterred, Dondero appealed to the Second Circuit (Case No. 22-1912 (2d Cir.)), re-filed his
breach of fiduciary duty claims in New York state court (Index No. 653654/2022 (N.Y. Sup. Ct. 2022)) (Ex. 76, Appx.
2214-2261), asserted duplicative counterclaims in another pending litigation involving Acis (Case No. 23-cv-11059-
GHW (S.D.N.Y. Dec. 24, 2021)), and filed a lawsuit against HCLOF in the Royal Court of Guernsey alleging HCLOF
unfairly prejudiced CLOH by settling with Acis, rather than suing it (No. 106-25786898 (Royal Court of Guernsey))
(Ex. 77, Appx. 2262-2294).
14
   The direct catalyst for HCMLP’s bankruptcy was the Redeemer Committee’s arbitration award. HCMLP lacked the
liquidity to pay the award and was desperate to avoid its public disclosure, which was averted by HCMLP’s filing.
15
   HCMLP’s culture of litigation ran so deep that HCMLP’s 20 largest unsecured, non-insider creditors included 19
litigation claimants, law firms, and other professionals related to litigation. B.D.I. 1.

                                                        6
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        10.       The Committee immediately moved to transfer the Bankruptcy Case to the U.S.

Bankruptcy Court for the Northern District of Texas, Dallas Division (the “Bankruptcy Court”)—

where Acis’s bankruptcy was pending—and, on December 2, 2019, HCMLP’s case was

transferred. 16

        11.       Soon thereafter, the Committee, with the support of the U.S. Trustee (the “UST”),

told HCMLP it intended to seek appointment of a chapter 11 trustee because it did not believe

Dondero could act as an estate fiduciary based on his history of self-dealing, asset stripping, and

other breaches of fiduciary duty. To avoid a trustee, Dondero and HCMLP entered into a settlement

with the Committee—approved by the Bankruptcy Court in January 2020 (the “January

Order”) 17—that: (a) removed Dondero from all control positions at HCMLP; (b) appointed an

independent board (the “Independent Board”) to manage the bankruptcy; and (c) implemented

operating protocols (the “Protocols”) that, among other things, (i) generally required Committee

approval before most asset sales or transfers, and (ii) prohibited Dondero and his controlled

affiliates from terminating contracts with HCMLP. Dondero remained at HCMLP as an unpaid

portfolio manager subject to the Independent Board’s oversight. The Bankruptcy Court

subsequently appointed one of the Independent Board members, James P. Seery, Jr. (“Seery”), as

HCMLP’s Chief Restructuring Officer and Chief Executive Officer (the “July Order”). 18

        12.       The January and July Orders included gatekeeper provisions to protect HCMLP’s

fiduciaries from harassing litigation. 19


16
   The Delaware court transferred venue to the Bankruptcy Court because of, among other reasons, its knowledge of
and experience with Dondero and his use of surrogates and proxies to litigate his positions.
17
   B.D.I. 339.
18
   B.D.I. 854.
19
   See January Order ¶ 10 (“No entity may commence or pursue a claim or cause of action of any kind against any
Independent Director … without the Bankruptcy Court … specifically authorizing such entity to bring a claim.”); July
Order ¶ 5 (“No entity may commence or pursue a claim or cause of action of any kind against Mr. Seery … without
the Bankruptcy Court … specifically authorizing such entity to bring a claim.”).

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         13.      In August 2020, HCMLP, Dondero, the Committee, Acis, UBS, and the Redeemer

Committee entered mediation with retired bankruptcy judge Allan Gropper and attorney Sylvia

Mayer in the hope of reaching a global settlement. 20 The mediation resulted in settlements with

the Redeemer Committee, Acis, and UBS 21—but not Dondero. Thereafter, HCMLP and the

Committee negotiated a plan of reorganization to monetize HCMLP’s assets and distribute

proceeds to creditors.

C.       Dondero Interferes with the Estate and Vows to “Burn [HCMLP] Down”

         14.      With the Committee refusing to capitulate, and frustrated by his inability to regain

control of HCMLP, Dondero told Seery that he would “burn down the place.” 22 True to his word,

Dondero became an implacable opponent of HCMLP and the Committee’s efforts to confirm a

plan and settle claims, resulting in the Independent Board demanding his resignation. Dondero and

the Dondero Entities then embarked on a coordinated campaign of destruction: (a) objecting to

virtually every settlement; (b) commencing actions that were either frivolous or withdrawn on the

eve of trial; (c) forcing HCMLP to sue to collect on over $60 million of simple, two-page demand

and term notes and then asserting fabricated and frivolous defenses to repayment; (d) interfering

with HCMLP’s management of its estate; (e) threatening HCMLP employees and management;

and (f) appealing virtually every order. The Bankruptcy Court found the Dondero Entities’

litigation was intended to harass. 23



20
   B.D.I. 912.
21
   The settlement with UBS was subsequently renegotiated after HCMLP—then independently managed—uncovered
and disclosed a massive fraud in which Dondero surreptitiously caused two entities against which UBS ultimately
procured a billion-dollar judgment to transfer $300 million in face amount of cash and securities to an offshore entity
owned and controlled by Dondero and Scott Ellington, in August 2017. Ex. 9, Appx. 553-616. After the details of this
transfer were presented to the Bankruptcy Court, the Bankruptcy Court indicated it would review the facts, which it
called “damning,” and, if warranted, make a criminal referral pursuant to 18 U.S.C. § 3057(a). Id., Appx. 623-624.
22
   Confirmation Order ¶ 78.
23
   Confirmation Order ¶ 77 (“During the last several months, Mr. Dondero and the Dondero Related Entities have
harassed [HCMLP], which has resulted in further substantial, costly, and time-consuming litigation for [HCMLP].”)

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D.       Confirmation of HCMLP’s Plan; Approval of Gatekeeper; Fifth Circuit
         Affirmation; and Subsequent Litigation

         15.      On February 22, 2021, the Bankruptcy Court overruled the Dondero Entities’

objections and, with the support of 99.8% of creditors in amount, 24 entered the Confirmation

Order, which confirmed the Fifth Amended Plan of Reorganization of Highland Capital

Management, L.P. (as Modified). 25 In the Confirmation Order, the Bankruptcy Court found

Dondero controlled the Dondero Entities and that they were “marching” to his orders. 26

         16.      The confirmed Plan included a “gatekeeper” provision (the “Gatekeeper”)

prohibiting the Dondero Entities, among others, from bringing claims against HCMLP, any of the

entities created under the Plan, and HCMLP’s management, among others, unless the Bankruptcy

Court found the claims “colorable.” 27 The Bankruptcy Court found the Gatekeeper was:

         necessary and appropriate in light of the history of the continued litigiousness of
         Mr. Dondero and his related entities in this Chapter 11 Case and necessary to the
         effective and efficient administration, implementation and consummation of the
         Plan …. Approval of the Gatekeeper Provision will prevent baseless litigation
         designed merely to harass the post-confirmation entities charged with monetizing
         the Debtor’s assets for the benefit of its economic constituents, will avoid abuse of
         the court system and preempt the use of judicial time that properly could be used to
         consider the meritorious claims of other litigants. 28

         17.      The Dondero Entities appealed the Confirmation Order, arguing, among other

things, the protections in the Plan, including the Gatekeeper, were overbroad and illegal. On direct

appeal, the Fifth Circuit rejected the Dondero Entities’ arguments, calling their scatter-shot




24
   Confirmation Order ¶ 3.
25
   B.D.I. 1808 (the “Plan”).
26
   Confirmation Order ¶ 19.
27
   Plan, Art. IX.F. The Plan also provided for the creation of the Highland Litigation Sub-Trust and the appointment
of Marc Kirschner as litigation trustee. See generally Plan, Art. IV.B. Kirschner, as litigation trustee, subsequently
filed suit against Dondero and a number of Dondero Entities in the Bankruptcy Court. Adv. Proc. No. 21-03051-sgj
(Bankr. N.D. Tex.). This litigation was voluntarily stayed in April 2023. Id., Docket No. 338.
28
   Confirmation Order ¶ 79.

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strategy a “bankruptcy-law blunderbuss” 29 and affirmed the Confirmation Order in material part,

including the Gatekeeper 30 and the factual findings regarding Dondero’s control of the Dondero

Entities. 31 The Fifth Circuit, however, limited the Plan’s exculpation provision and remanded “for

further proceedings consistent with [its] opinion.” 32

         18.      The Dondero Entities immediately petitioned for rehearing, effectively requesting

that the Fifth Circuit “clarify” its opinion and limit the parties protected by the Gatekeeper so they

could continue harassing the estate. 33 The Fifth Circuit granted their petition without a hearing but

rejected their request for “clarification.” Instead, the Fifth Circuit simply deleted one sentence

leaving the substance of its opinion—and its affirmation of the Gatekeeper—intact. 34

         19.      Following remand, HCMLP moved in the Bankruptcy Court to conform the Plan

to the Fifth Circuit’s opinion by limiting the parties receiving exculpation. 35 The Dondero Entities

objected, arguing the Fifth Circuit had limited the Gatekeeper the same way it limited

exculpation. 36 The Bankruptcy Court overruled the Dondero Entities’ objections and granted




29
   NexPoint Advisors, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48 F.4th 419, 432 (5th
Cir. 2022).
30
   Id., at 435 (“the injunction and gatekeeper are sound”); see also id., at 439 (“We otherwise affirm the inclusion of
the injunction and the gatekeeper provision in the Plan.”)
31
   NexPoint. 48 F.4th at 434-35. The Fifth Circuit also affirmed that the January and July Orders were res judicata.
Id. at 438, n.15.
32
   Id. at 439-40; see also id. at 439, n.19 (“Nothing in this opinion should be construed to hinder the bankruptcy court’s
power to enjoin and impose sanctions on Dondero and other entities by following the procedures to designate them
vexatious litigants.”).
33
   Petition of Appellants Highland Income Fund; NexPoint Strategic Opportunities Fund; Highland Global Allocation
Fund; and NexPoint Capital, Inc. for Limited Panel Rehearing, Case No. 21-10449, Document 516458961 (Sept. 2,
2022).
34
    Cf. Case No. 21-10449, Document 516439341 (5th Cir. Aug. 19, 2022), with Case No. 21-10449, Document
516462923 (5th Cir. Sept. 7, 2022). The Fifth Circuit subsequently confirmed it had limited only the exculpation
provision. Highland Cap. Mgmt. Fund Advisors, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt.,
L.P.), 57 F.4th 494, 498 (5th Cir.2023) (“In September 2022, we affirmed the Plan in all respects except one,
concluding that the Plan exculpated certain non-debtors beyond the bankruptcy court’s authority”).
35
   B.D.I. 3503.
36
   B.D.I. 3539, 3551.

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HCMLP’s motion, conforming the Plan with no changes to the Gatekeeper. 37 The Dondero Entities

immediately appealed and, once again, seek to challenge the Gatekeeper in the Fifth Circuit. 38

Although HCMLP believes the appeal will fail, if the Dondero Entities succeed, they are nearly

certain to expand their abuse of the court system and baselessly pursue Seery, the estate, and

anyone else involved in its management.

         20.       Because the Dondero Entities continue to challenge the Gatekeeper (and the July

Order), 39 this Motion is necessary to prevent further harassment of HCMLP and its employees.

E.       The Dondero Entities’ Vexatiousness Impeded HCMLP’s Bankruptcy and
         Continues to This Day

         21.       The Dondero Entities’ relentless litigation and related actions during HCMLP’s

Bankruptcy Case have created substantial and unnecessary burdens for the estate and the judiciary.

The Dondero Entities (a) filed in the Bankruptcy Court approximately (i) 52 pre-petition claims

against the estate; (ii) 85 motions; and (iii) 79 objections, including objections to the UBS, Acis,

and Redeemer Committee settlements; (b) forced HCMLP to commence 9 adversary proceedings

against the Dondero Entities in order to protect, or collect property of, the estate; (c) appealed 18

Bankruptcy Court orders to this Court and 9 orders to the Fifth Circuit; and (d) took other actions

to impede HCMLP’s reorganization. A more detailed summary of the Dondero Entities’ actions is



37
   In re Highland Cap. Mgmt., L.P., 2023 Bankr. LEXIS 527 (Bankr. N.D. Tex. Feb. 27, 2023).
38
   The appeal was certified for direct appeal to the Fifth Circuit with the consent of all parties. B.D.I. 3696.
39
   The Dondero Entities are already mischaracterizing the Fifth Circuit’s opinion in a disingenuous attempt to limit
the gatekeeper provision in the July Order appointing Seery. See Brief for Appellants The Charitable DAF Fund L.P.;
CLO HoldCo, Ltd.; Mark Patrick; Sbaiti & Company PLLC; Mazin A. Sbaiti; Jonathan Bridges, Case No. 22-11036,
Document 66 at 53 (5th Cir. Feb. 6, 2023) (“[The Fifth Circuit] refus[ed] to extend … gatekeeping protections to non-
debtors including Seery as CEO, even while acknowledging and permitting the Barton doctrine and related protections
to apply to debtors in possession who stand in the shoes of trustee …. The bankruptcy court, by contrast, did precisely
what the Supreme Court now rejects—it expanded a judicially-invented doctrine [i.e., the Barton Doctrine] beyond
its precedential scope based on its own policy views [by approving the gatekeeper in the July Order].”) This statement
is plainly wrong. The Fifth Circuit’s opinion did not limit the Gatekeeper and expressly declared that the January and
July Orders were res judicata and not subject to collateral attack. Consistent with their goal to strip away all protections
against harassing litigation, the Dondero Entities also, via separate motion, moved to reconsider the July Order.

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included in the Appendix as Ex. 1, Appx. 1-16. Certain of the Dondero Entities’ most egregious

conduct is summarized below.

        22.      The Dondero Entities are the only parties currently litigating with HCMLP. All

other parties resolved their claims and causes of action long ago and are awaiting their Plan

distributions.

i       Meritless Claims Against HCMLP’s Estate

        23.      During the Bankruptcy Case, the Dondero Entities filed dozens of claims against

the estate, every one of which was either withdrawn—after HCMLP was forced to object to them—

or disallowed by the Bankruptcy Court (and then, of course, appealed).

•       The Dondero Entities’ Prepetition Claims: The Dondero Entities filed 52 proofs of claim

and then withdrew (or attempted to withdraw) them after HCMLP was forced to incur the cost of

objecting. 40 CLOH publicly and voluntarily reduced its claim to $0.00. Over a year later, Dondero

replaced CLOH’s trustee and—with a new titular head—CLOH moved to amend its $0.00 claim

to over $2 million. 41 As of today, none of the Dondero Entities hold a single allowed claim

against the estate.

•       NPA’s and HCMFA’s Administrative Expense Claim: NPA and HCMFA filed an

administrative expense claim seeking $14 million for alleged overpayments to HCMLP under

certain shared service and employee-reimbursement agreements during the Bankruptcy Case. 42




40
   Exs. 10-61, Appx. 626-1211. If former employee claims are counted, 92 proofs of claim were filed. NPA
subsequently acquired five additional prepetition claims in early 2021 filed by former HCMLP employees all of which
were subsequently withdrawn. B.D.I. 2044, 2045, 2046, 2047, 2266. In January 2022, NPA acquired a disputed
employee claim (B.D.I. 3146) (Ex. 75, Appx. 2201-2213), which was expunged (B.D.I. 3180). NPA has appealed.
41
   B.D.I. 3177, 3178, 3220, 3223. The Bankruptcy Court denied CLOH’s motion (B.D.I. 3457), and this Court rejected
CLOH’s initial appeal (CLO Holdco, Ltd. v. Kirschner (In re Highland Cap. Mgmt., L.P.), 2023 U.S. Dist. LEXIS
87842 (N.D. Tex. May 18, 2023)). CLOH has appealed to the Fifth Circuit.
42
   Ex. 62, Appx. 1212-1224.

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After a two-day evidentiary hearing, 43 the Bankruptcy Court found there were no overpayments

but that NPA and HCMFA had breached the foregoing agreements at Dondero’s direction and

awarded HCMLP $2.596 million in contract damages. 44 The Dondero Entities appealed.

•       CPCM, LLC Employee Claims: During the bankruptcy, HCMLP disclosed it was

terminating nearly all employees upon Plan confirmation. Because HCMLP’s bonus program did

not allow terminated employees to receive bonuses, HCMLP received approval for a retention plan

intended to make employees largely whole. 45 Dondero, however, as a condition to future

employment, demanded HCMLP’s employees reject HCMLP’s offer and assign their claims to

CPCM, LLC—a newly-created entity owned by HCMLP’s former general counsel. After HCMLP

incurred significant costs objecting, CPCM withdrew its (baseless) claims for a nuisance

settlement of $100,000, which CPCM was subsequently forced to forfeit in order to settle yet

another frivolous claim against the estate. 46

•       HCRE Proof of Claim: HCRE (a Dondero-controlled entity) filed a proof of claim alleging

that all or part of HCMLP’s interest in SE Multifamily LLC (another Dondero-controlled entity)

actually belonged to HCRE. 47 After HCMLP learned HCRE’s counsel had jointly represented

HCRE and HCMLP in the underlying transactions, HCMLP was forced to seek disqualification

over HCRE’s objection. 48 After a six-month delay and the deposition of HCMLP’s witnesses,

HCRE then abruptly canceled the depositions of Dondero and Matthew McGraner (a Dondero




43
   While testifying, Dondero made a series of vague threats about future allegations the Dondero Entities were going
to bring to the UST. Ex. 63, Appx. 1298-1299. Dondero’s threats at the hearing were consistent with baseless
allegations actually made to the UST by two Dondero Entities. See ¶ 28 infra.
44
   Adv. Proc. No. 21-03010-sgj, Docket No. 124 (Bankr. N.D. Tex. Aug. 30, 2022).
45
   B.D.I. 1849
46
   B.D.I. 3244; 3328 ¶ 5.
47
   Ex. 52, Appx. 1018-1023.
48
   B.D.I. 3106.

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loyalist and joint-owner of HCRE) and moved to withdraw its claim. 49 At a subsequent hearing, it

became clear HCRE’s goal was to preserve its claim for future litigation outside of the Bankruptcy

Court, so the motion to withdraw was denied. 50 The Bankruptcy Court then held an evidentiary

hearing on the merits after which it entered an order that betrayed the frivolous nature of the claim

and HCRE’s contentions. 51

ii      Meritless Motions in the Bankruptcy Case

        24.      The Dondero Entities also filed numerous motions attempting to re-assert control

over HCMLP or, failing that, to overwhelm the estate with litigation. For example:

•       Motion Requiring Notice and Hearing of Asset Sales: Dondero alleged HCMLP violated

11 U.S.C. § 363 by selling assets without Bankruptcy Court approval and without giving him a

chance to purchase those assets. Dondero withdrew his baseless motion after HCMLP and the

Committee incurred significant costs responding and preparing for trial. 52

•       Motion for Temporary Restriction on CLO Sales: After withdrawing the motion to restrict

asset sales, five Dondero Entities moved to prevent HCMLP from causing its managed CLOs to

sell assets without the Dondero Entities’ approval (the “Restriction Motion”). 53 The movants cited

no authority and relied solely on Dondero’s disagreement with HCMLP’s business decisions. After

an evidentiary hearing, the Bankruptcy Court denied the motion as “almost Rule 11 frivolous.” 54

•       Motion to Appoint Examiner: Fifteen months after the Petition Date, and just days before

confirmation, Dondero’s family “trusts,” Dugaboy and Get Good, moved for the appointment of



49
   B.D.I. 3443, 3487, 3505.
50
   In re Highland Cap. Mgmt., L.P., 2023 Bankr. LEXIS 1149 (Bankr. N.D. Tex. Apr. 28, 2023)).
51
   Ex. 64, Appx. 1413-1414, 1416-1436, 1439-1450; B.D.I. 3851.
52
   B.D.I. 1349, 1546, 1551, 1622
53
   B.D.I. 1522
54
   Ex. 65, Appx. 1533.

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an examiner, 55 purportedly to assess the claims against the estate (most of which had already

settled) and the Dondero Entities’ Plan objections. 56

•        Motion to Compel Compliance with Rule 2015.3: Two months post-confirmation and 18

months after the Petition Date, Dugaboy and Get Good sought to compel HCMLP to file reports

under Bankruptcy Rule 2015.3. 57 HCMLP and the Committee objected, arguing the request was

untimely, unduly burdensome, and was an attempt to obtain information for the purpose of

manufacturing more litigation claims. The motion was denied as moot. On appeal, the Dondero

Entities admitted their goal was to create additional litigation. 58

•        Motions to Recuse: Seventeen months post-petition, the Dondero Entities sought to recuse

the Bankruptcy Court. After their motion was denied, they appealed, but this Court held the order

was interlocutory. In July 2022, the Dondero Entities defiantly moved the Bankruptcy Court to

rule its order was “final” so it could be appealed to this Court and asserted additional allegations

of bias. The motion was denied. In September 2022, the Dondero Entities filed their third motion

to recuse, which they amended in October 2022. 59 The Dondero Entities filed another motion to

recuse in the Kirschner adversary in February 2023. 60 The motions to recuse were denied in March

2023. 61 The Dondero Entities’ petition for a writ of mandamus was also denied. 62



55
   B.D.I. 1752.
56
   The Dondero Entities subsequently admitted the motion was filed to delay confirmation, re-litigate settlements, and
adjudicate the Dondero Entities’ Plan objections in a different forum—completely improper purposes. B.D.I. 2061 ¶
37 (“[W]hen the Trusts made the Examiner Motion, they believed that the motion would cause delay or a continuance
of the confirmation hearing on the Plan ….”); B.D.I. 3542 at 11 (“The Trustees sought the appointment of an examiner
to address … (i) the issues raised … in the Restriction Motion [i.e., a motion denied a month earlier], [and] (ii) various
objections to the proposed [Plan] ….”).
57
   B.D.I. 2256.
58
   See ¶ 89 infra.
59
   B.D.I. 2061, 2601, 2062, 3470, 3542, 3570.
60
   Adv. Proc. No. 21-03076-sgj, Docket Nos. 309, 315, 318.
61
   In re Highland Cap. Mgmt., L.P., 2023 Bankr. LEXIS 579 (Bankr. N.D. Tex. Mar. 5, 2023).
62
   Civ. Action No. 3:21-cv-00879-K, Docket Nos. 41, 42 (N.D. Tex. Apr. 5, 2023).

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iii     Meritless Objections in the Bankruptcy Case

        25.      In addition to their meritless claims and motions, the Dondero Entities objected to

nearly every motion HCMLP filed in the Bankruptcy Court. For example:

•       Objections to Settlements: In late 2020 and early 2021, HCMLP settled with holders of the

largest litigation claims against the estate—something the Bankruptcy Court called “nothing short

of a miracle”—and sought court approval. The Dondero Entities objected to most of the

settlements, including those with Acis, UBS, and HarbourVest. 63 Scott Ellington—Dondero’s

long-time general counsel—objected to the settlement with Daugherty. 64

•       Objections to Confirmation: Twenty-one of the Dondero Entities filed five separate

objections to confirmation. Fifteen funds managed by NPA and HCMFA joined the objections.

Certain former HCMLP employees (most of whom were then working for Dondero) and

Dondero’s Dallas-based bank, NexBank and its affiliates, also separately objected. 65 The Dondero

Entities were the only parties pressing objections at confirmation. Their objections were overruled

and a number found borderline frivolous. 66 The Dondero Entities appealed to the Fifth Circuit,

which affirmed the Confirmation Order in all material respects.

•       NPA Fee Objections: NPA objected to the fee applications of nearly every professional in

the Bankruptcy Case and asked the Bankruptcy Court to delay allowing fees and to allow NPA to

retain a fee examiner. NPA’s objection was overruled. NPA appealed to this Court, and, after the

appeal was dismissed for lack of prudential standing, to the Fifth Circuit. The matter is sub judice.


63
   B.D.I. 1177, 1121, 1706, 1697, 1707, 2268, 2268, 2293. HarbourVest refers to a series of affiliated funds that
invested in Highland CLO Funding, Ltd. (“HCLOF”), a Guernsey-based investment vehicle. HarbourVest asserted a
$300 million-plus claim against HCMLP, alleging Dondero and certain former HCMLP employees fraudulently
induced it to invest in HCLOF.
64
   B.D.I. 3242.
65
   B.D.I. 1661, 1667, 1669, 1670, 1673, 1675, 1676.
66
   Confirmation Order ¶ C; Ex. 66, Appx. 1606 (“The Court considered [certain Dondero Entity plan objections] to
wholly lack merit, and are borderline frivolous, frankly. They do not raise a serious legal question.”).

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•       Objection to Indemnity Trust Motion: After HCMLP was unable to procure cost-effective

insurance necessary for its reorganization because of Dondero’s reputation in the insurance

community—colloquially known as the “Dondero Exclusion” 67—HCMLP and the Committee

created an indemnity trust to self-insure its indemnification obligations. 68 The Dondero Entities

were the only objectors, 69 claiming the trust was somehow a plan modification. The Bankruptcy

Court overruled their objections, 70 and the Dondero Entities’ appeals to this Court and the Fifth

Circuit were denied. 71

iv      HCMLP Litigates to Protect Its Rights and the Bankruptcy Process

        26.      HCMLP was forced to file affirmative litigation to protect itself and to compel the

Dondero Entities to comply with Bankruptcy Court orders and simple obligations:

•       First TRO; Contempt Order: In December 2020, after Dondero interfered with HCMLP’s

exclusive management of the CLOs and threatened Seery in writing—“Be careful what you do,

last warning”—HCMLP sought and obtained a temporary restraining order (“TRO”) preventing

Dondero from, inter alia, (a) threatening HCMLP and its employees and agents; (b)

communicating with HCMLP’s employees (with one specified exception); and (c) interfering with

HCMLP’s business. Dondero was later held in contempt and sanctioned $450,000 for violating

the TRO. 72 Dondero’s initial appeal to the District Court was denied; his appeal to the Fifth Circuit

is pending.




67
   Ex. 73, Appx. 2179-2180.
68
   B.D.I. 2491, 2576, 2577.
69
   B.D.I. 2563.
70
   B.D.I. 2599.
71
   Highland Cap. Mgmt. Fund Advisors v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 2022 U.S.
Dist. LEXIS 15648 (N.D. Tex. Jan. 28, 2022); Highland Cap. Mgmt. Fund Advisors, 57 F.4th at 496.
72
   Highland Cap. Mgmt., L.P. v. Dondero (In re Highland Cap. Mgmt., L.P.), 2021 Bankr. LEXIS 1533 (Bankr. N.D.
Tex. Jun. 7, 2021).

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•       Second TRO: Days after the Restriction Motion was dismissed as “frivolous,” 73 certain

Dondero Entities demanded that HCMLP refrain from causing the CLOs to sell assets and

threatening to terminate HCMLP’s management agreements with the CLOs (an action prohibited

by the Protocols). 74 The Dondero Entities’ actions forced HCMLP to seek and obtain another

temporary restraining order to prevent further interference with the estate. 75

•       Mandatory Injunction: Prior to its bankruptcy, HCMLP had arrangements to provide

middle- and back-office services to certain Dondero Entities. In late 2020, HCMLP gave notice of

its intent to terminate the agreements due to the downsizing of its workforce. HCMLP tried to

negotiate in good faith a transition plan with the Dondero Entities to prevent their retail funds from

going into freefall, which could have negatively impacted HCMLP. Although all material terms

were agreed upon, the Dondero Entities refused to sign unless Dondero regained access to

HCMLP’s offices; he had previously been evicted. With a substantial reduction-in-workforce days

away, HCMLP sought an injunction compelling the Dondero Entities to create a transition plan.76

At the hearing, and presumably to avoid SEC scrutiny, the Dondero Entities disclosed for the first

time that they had cobbled together their own transition plan, thus mooting HCMLP’s motion. 77

•       Actions to Collect Notes: HCMLP loaned certain Dondero Entities more than $60 million

in aggregate pursuant to a series of simple demand and term notes. In late 2020, HCMLP called



73
   See ¶ 24 supra.
74
   Adv. Proc. No. 21-03000-sgj, Docket Nos. 4-6, 4-7, 4-8, 4-9, 4-10, 4-11. The Dondero Entities subsequently
admitted their letters were sent to procure denied relief. B.D.I. 2061 ¶ 27 (“In December of 2020, due to the Court’s
denial of the Restriction Motion, … [the Dondero Entities sent] correspondence … to reiterate [their] … request,
again, that Debtor not liquidate the CLOs; to reserve any rights that the Advisors and the Retail Funds might have
against Debtor for failure to maximize the value of the investment as required under the [CLO] Portfolio Management
Agreements; and to notify Debtor that the Retail Funds … intended to initiate the procedure to remove Debtor as fund
manager of the CLOs.”).
75
   Adv. Proc. No. 21-03000-sgj, Docket Nos. 2, 3, 4, 5, 6, 7, 20, 64, 76 (Bankr. N.D. Tex.).
76
   Adv. Proc. No. 21-03010-sgj, Docket No. 2 (Bankr. N.D. Tex. Feb. 17, 2021).
77
   Adv. Proc. No. 21-03010-sgj, Docket No. 25 (Bankr. N.D. Tex. Feb. 24, 2021); Ex. 79, Appx. 2317.

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the demand notes and, in January 2021, following defaults, accelerated the term notes. The

Dondero Entities refused to satisfy their obligations and fabricated multiple (and ever-shifting)

defenses, including that the notes were (a) compensation structured as a non-repayable note for tax

purposes, (b) subject to an undisclosed oral agreement between Dondero and his sister to forgive

the notes under certain conditions, (c) void due to mutual mistake, and (d) executed without proper

authority. After discovery, the Bankruptcy Court recommended summary judgment be granted to

HCMLP, finding the Dondero Entities’ defenses “farfetched,” based on a “complete lack of

evidence,” and unable to pass the “Straight-Face Test.” 78 The Bankruptcy Court assessed

HCMLP’s costs against the Dondero Entities as required under the notes. In July 2023, this Court

overruled the Dondero Entities’ objections, 79 adopted each report and recommendation, and

entered judgments against the Dondero Entities in excess of $65 million. 80

•       Second Contempt Order: The DAF and CLOH pursued claims against Seery in this Court

(not the Bankruptcy Court) 81 in violation of the “gatekeeper” provisions in the January and July

Orders. Following an evidentiary hearing, the Bankruptcy Court held Dondero, DAF, CLOH, their

trustee, and their counsel in contempt. 82 The Dondero Entities appealed.




78
   Highland Cap. Mgmt., L.P. v. Highland Cap. Mgmt. Fund Advisors, L.P. (In re Highland Cap. Mgmt., L.P.), 2022
Bankr. LEXIS 1989 at * 40-41, 46-47, 59-60 (Bankr. N.D. Tex. Jul. 19, 2022); HCMLP filed a separate suit to collect
on two other notes issued by HCMFA. The Bankruptcy Court also recommended summary judgment in favor of
HCMLP in that action. Adv. Proc. No. 21-03082-sgj, Docket No. 73 (Bankr. N.D. Tex. Oct. 12, 2022).
79
   Civ. Action No. 3:21-cv-00881-X, Docket Nos. 27-1, 27-4, 27-5, 34, 62, 78, 87, 98, 204, 210 (N.D. Tex.).
80
   Id., Docket Nos. 127, 128, 129, 130, 131, 133, 135.
81
   See ¶ 28 infra.
82
   In re Highland Cap. Mgmt., L.P., 2021 Bankr. LEXIS 2074 at *28-29, 40-41 (Bankr. N.D. Tex. Aug. 3, 2021), aff’d
2022 U.S. Dist. LEXIS 175778 (N.D. Tex. Sept. 28, 2022) (“The totality of the evidence was clear that Mr. Dondero
sparked this fire … Mr. Dondero encouraged [plaintiffs] to do something wrong, and [plaintiffs] basically abdicated
responsibility to Mr. Dondero with regard to … executing the litigation strategy.”).

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v       The Dondero Entities Appeal Nearly Every Order

        27.      Not content to abuse the Bankruptcy Court’s jurisdiction, the Dondero Entities have

appealed nearly every Bankruptcy Court order to this Court, and, when unsuccessful here, to the

Fifth Circuit. Certain examples of the abusive appeals are as follows:

•       Appeal of Confirmation Order: The Dondero Entities’ appeal of their Plan objections was

certified to the Fifth Circuit. The Fifth Circuit (a) affirmed the Gatekeeper and the factual findings

concerning Dondero’s control over the Dondero Entities, but (b) limited the parties exculpated by

the Plan. The Fifth Circuit also implied that the Dondero Entities should be deemed vexatious. The

Fifth Circuit remanded to the Bankruptcy Court to conform the Plan. 83 On remand, HCMLP moved

to conform the Plan to limit the exculpated parties as directed by the Fifth Circuit, and an order

approving the motion was entered over the Dondero Entities’ objection. The Dondero Entities

immediately appealed to overturn the Gatekeeper.

•       Appeal of TRO; First Contempt Order: Dondero appealed the TRO prohibiting him from

interfering with the estate or colluding with HCMLP employees, but this Court denied his request

for an interlocutory appeal 84 and the Fifth Circuit dismissed his writ of mandamus. 85 Dondero

appealed the order holding him in contempt. This Court affirmed the Bankruptcy Court in all

respects but one. 86 Dondero has appealed to the Fifth Circuit.

•       Appeal of Settlement Orders: The Dondero Entities appealed the orders approving the

settlements with Acis, UBS, and HarbourVest. The appeals of the Acis and HarbourVest



83
   See ¶¶ 15-19 supra.
84
   Case No. 3:21-CV-0132-E, Docket No. 9 (N.D. Tex. Feb. 11, 2021).
85
   Case No. 21-10219, Document 515867137 (5th Cir. May 18, 2021). Dondero moved to dismiss his writ after it
became clear it would not be granted.
86
   Civ. Action No. 3:21-CV-1590-N, Docket No. 42 (N.D. Tex. Aug. 17, 2022). The parties agreed the Bankruptcy
Court’s monetary sanction assessing a penalty of $100,000 for each unsuccessful appeal exceeded its authority. The
order was otherwise affirmed.

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settlements were dismissed for lack of prudential standing. The appeal of the UBS settlement was

dismissed on the merits, with this Court finding that aspects of the appeal were intended to

“bamboozle” the Court. 87 The Dondero Entities appealed the HarbourVest and UBS settlements

to the Fifth Circuit. These matters are sub judice.

•        Appeal of Second Contempt Order: The Dondero Entities appealed the order holding them

in contempt for pursuing claims against Seery in violation of the January and July Orders. On

appeal, this Court (a) found the gatekeeper provisions in the January and July Orders “failed to

deter” the Dondero Entities and the contempt finding was based on “clear and convincing

evidence” and (b) affirmed the finding regarding Dondero’s control of DAF and CLOH. 88 The

Dondero Entities appealed to the Fifth Circuit.

•        Appeal of Rule 2015.3 Order: Dugaboy appealed the order denying its motion to compel

compliance with Rule 2015.3, admitting it had been filed to gain information to manufacture new

litigation claims. 89 This Court dismissed Dugaboy’s appeal for lack of prudential standing.

Dugaboy appealed to the Fifth Circuit, 90 which denied its appeal without argument. 91



87
   Dugaboy Inv. Tr. v. Highland Cap. Mgmt., L.P., 2022 U.S. Dist. LEXIS 172351, at *12 (N.D. Tex. Sept. 22, 2022).
88
   Charitable DAF Fund L.P. v. Highland Cap. Mgmt., L.P., 2022 U.S. Dist. LEXIS 175778, at *3, 5-11, 18-21 (N.D.
Tex. Sept. 28, 2022).
89
   Case No. 3:21-cv-02268-S, Docket No. 15, at 2-3 (N.D. Tex. Jan. 1, 2022) (“That is the point of this appeal [of the
order on the 2015.3 reports]: to determine what claims against the estate exist which arose from transactions with non-
debtor affiliates—a determination that was foreclosed because of the Bankruptcy Court’s Order rendering production
of the 2015.3 Reports moot”); see also Case No. 3:22-CV-2268-S, Docket No. 21 at 5 (N.D. Tex. Aug. 8, 2022)
(“Dugaboy’s primary contention is that, but for the bankruptcy court’s failure to compel Debtor to file retroactive
reports regarding its ownership interests in non-debtor subsidiaries as of the bankruptcy petition date, Dugaboy might
have used the information in those reports to investigate whether any post-petition claims exist against Debtor’s estate
by any non-debtor affiliate”) (citations omitted).
90
   In its reply to the Fifth Circuit, Dugaboy alleged, without factual support, that HCMLP’s failure to comply with
Rule 2015.3 meant HCMLP’s bankruptcy case was a “black box allowing [HCMLP] and its professionals to pilfer the
estate for tens of million dollars” with the complicity of “the courts.” Case No. 22-10831, Document 516578672, at 5
(5th Cir. Dec. 14, 2022). HCMLP moved to strike Dugaboy’s unsupported statements. Although the Fifth Circuit
denied the motion, it directed HCMLP to file a sur-reply, which it did. Case No. 22-10831, Document 39-1 (5th Cir.
Jan. 12, 2023); see also Case No. 22-10831, Document 40 (5th Cir. Jan. 23, 2023).
91
   Dugaboy Inv. Tr. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 2023 U.S. App. LEXIS 4839
(5th Cir. Feb. 28, 2023).

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•       Appeal of Orders on Lack of Standing: The Dondero Entities appealed this Court’s orders

dismissing their appeals for lack of prudential standing, arguing the “person aggrieved” standard

(applied in this Circuit and all other Circuits for decades) must be overturned. 92 These matters are

sub judice.

vi      The Dondero Entities’ Attempt to Evade the Bankruptcy Court

        28.      In an effort to evade the Bankruptcy Court, the Dondero Entities have filed multiple

lawsuits in other courts and sought regulatory intervention in the Bankruptcy Case.

•       Charitable DAF Fund, L.P., et al v. Highland Cap. Mgmt., L.P., et al: The DAF and its

subsidiary, CLOH, filed suit in this Court 93 alleging HCMLP breached its purported duties by

entering into the Bankruptcy Court-approved HarbourVest settlement—notwithstanding that

CLOH had objected to the settlement and then, after conducting research and reviewing the

arguments, publicly withdrew its objection, stating it had no merit. 94 Shortly thereafter, DAF and

CLOH sought to add Seery as a defendant in violation of the January and July Orders. 95 The

complaint was referred to the Bankruptcy Court in September 2021 and dismissed on collateral

and judicial estoppel grounds. 96 This Court reversed, in part, and remanded for additional

findings. 97 HCMLP renewed its motion to dismiss in October 2022, and, in November 2022,



92
   Case No. 22-10960 (5th Cir. Oct. 5, 2022); Case No. 22-10575 (5th Cir. Jun. 10, 2022); Case No. 22-10831 (5th
Cir. Aug. 24, 2022).
93
   3:21-cv-00842-B (N.D. Tex. Apr. 21, 2021).
94
   Ex. 67, Appx. 1626-1627; Ex. 68, Appx. 1804-1805.
95
   See ¶ 26 supra.
96
   Charitable DAF Fund, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 2022 Bankr. LEXIS
659 (Bankr. N.D. Tex. Mar. 11, 2022).
97
   Charitable DAF Fund, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 643 B.R. 162 (N.D.
Tex. 2022). Although this Court reversed, it did not, in any way, find the Dondero Entities’ complaint had merit.
Instead, it found the Bankruptcy Court appropriately applied collateral estoppel sua sponte and that all elements of
collateral estoppel were met except one—“actually litigated”—because a settlement under Rule 9019 has a different
legal standard. Id., at 173. This Court also found the first two elements of judicial estoppel—“inconsistency” and
“court’s acceptance”—were met but the third element—“inadvertence”—was not assessed and remanded to determine
if CLOH’s withdrawal of its objection was “inadvertent.”

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plaintiffs moved for the first time to withdraw the reference. After a hearing, the Bankruptcy Court

recommended this Court not withdraw the reference, finding the motion was untimely and “forum

shopping and an attempt to delay adjudication.” 98 DAF and CLOH objected to the report and

recommendation. 99 The Bankruptcy Court granted the renewed motion to dismiss in June 2023;100

DAF and CLOH have appealed to this Court.

•       PCMG Trading Partners XXIII, L.P. v. Highland Cap. Mgmt., L.P.: PCMG, a Dondero

Entity, filed suit in this Court 101 alleging HCMLP mismanaged an investment fund during the

Bankruptcy Case. PCMG never served its complaint and moved for an ex parte stay. After HCMLP

re-opened the case, this Court referred the complaint to the Bankruptcy Court, and HCMLP moved

to dismiss. PCMG withdrew its complaint shortly before the hearing without explanation. 102

•       The Dugaboy Inv. Tr. v. Highland Cap. Mgmt., L.P.: Dugaboy filed suit in this Court, 103

alleging HCMLP mismanaged the Highland Multi-Strategy Credit Fund, L.P. (“MSCF”) by

causing it to sell assets during the Bankruptcy Case. Dugaboy did not serve its complaint but

withdrew it after HCMLP discovered it and disclosed that it was duplicative of Dugaboy’s proof

of claim, 104 which itself was withdrawn after HCMLP incurred the cost of objecting. 105

•       The Charitable DAF Fund, L.P. v. Highland Cap. Mgmt., L.P.: After Dugaboy withdrew

its complaint, the DAF filed virtually the same complaint in this Court 106 alleging, again,



98
   Civ. Act. No. 3:21-0842-B, Docket No. 162 at 14 (N.D. Tex. Feb. 6, 2023).
99
   Civ. Act. No. 22-02802-S, Docket No. 3 (N.D. Tex. Feb. 21, 2023).
100
    Charitable DAF Fund, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 2023 Bankr. LEXIS
1637 (Bankr. N.D. Tex. Jun. 8, 2023)
101
    3:21-cv-01169-N (N.D. Tex. May 21, 2021).
102
    Adv. Proc. No. 22-03068-sgj, Docket No. 27 (Bankr. N.D. Tex. Aug. 1, 2022).
103
    3:21-cv-01479-S (N.D. Tex. Jun. 23, 2021).
104
    Ex. 57, Appx. 1058-1063.
105
    B.D.I. 2965.
106
    Civ. Action No. 3:21-cv-01710-N (N.D. Tex. Jul. 22, 2021).

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mismanagement of MSCF. The DAF never served its complaint and moved for an ex parte stay.

After HCMLP re-opened the case, this Court referred the complaint to the Bankruptcy Court. In

August 2022, the Bankruptcy Court dismissed the complaint. 107

•        Pre-Suit Discovery in Texas State Court: In July 2021, Dondero filed a petition in Texas

state court seeking pre-suit discovery from Alvarez & Marsal CRF Management, LLC

(“Alvarez”), and Farallon Capital Management, LLC (“Farallon”), alleging that Seery provided

“inside information” to Farallon to assist in the purchase of claims from the Redeemer Committee

(represented by Alvarez). Dondero also sought discovery on the HarbourVest settlement. 108 The

petition clearly targeted Seery. The petition was removed to the Bankruptcy Court but

remanded. 109 The state court held a hearing and dismissed the petition the same day. 110

         On January 20, 2023, HMIT filed another petition in Texas state court for pre-suit

discovery against Farallon and Stonehill Capital Management, LLC (“Stonehill”), alleging (a) they

purchased the Redeemer Committee, UBS, Acis, and HarbourVest claims with “inside

information,” including information related to the HarbourVest settlement, so (b) Seery could




107
    Adv. Proc. No. 22-03052-sgj, Docket No. 42, 43 (Bankr. N.D. Tex. Sept. 30, 2022). The DAF appealed but
subsequently dismissed its appeal without explanation. Civ. Action No. 3:22-cv-02280-S, Docket No. 9 (N.D. Tex.
Feb. 22, 2023).
108
    Verified Petition to Take Deposition Before Suit and Seek Documents, Cause No. DC-21-09534 (Tex. Dist. 95th
Jul. 22, 2021); Verified Amended Petition to Take Deposition Before Suit and Seek Documents, Cause No. DC-21-
09534 (Tex. Dist. 95th May 2, 2022). Exs. 69-70, Appx. 1833-1856.
109
    Despite remanding the action to state court, the Bankruptcy Court noted that Dondero’s petition focused primarily
on Seery despite not naming him directly. Adv. Proc. No. 21-03054-sgj, Docket No. 23 at 6 (Bankr. N.D. Tex. Jan. 4,
2022) (“It appears that Dondero may be seeking discovery as a means to craft a lawsuit against Seery … despite being
previously sanctioned, along with related parties, by this court when he attempted to add Seery to a lawsuit … in
violation of this court’s prior gatekeeping orders …. Disturbingly, Seery again appears to be at the center of Dondero’s
allegations of wrongful acts, as his name appears nine times in the petition that commenced the Rule 202 Proceeding”).
110
    Order, Cause No. 21-09534 (Tex. Dist. 95th Jun. 1, 2022), Ex. 71, Appx. 1857-1858.

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fraudulently increase his compensation. 111 Seery was not named but was clearly the target. After

a hearing, the state court dismissed HMIT’s petition. 112

•       Letters to the UST: In late 2021, and again in May 2022, Dugaboy, NPA, and HCMFA

sent letters to the UST 113 falsely alleging, among other things, that: (a) the Bankruptcy Court ruled

for HCMLP because HCMLP knowingly misrepresented facts; (b) the Bankruptcy Case lacked

transparency because HCMLP did not file its Rule 2015.3 reports; (c) HCMLP’s settlement with

HarbourVest was fraudulent; (d) HCMLP engaged in asset sales without Bankruptcy Court

approval and without offering investors (i.e., Dondero) the opportunity to purchase the assets; (e)

Seery violated employee rights by not paying the employee claims transferred to CPCM; (f) the

Plan impermissibly sought to liquidate a solvent estate against creditor wishes; (g) Seery engaged

in insider trading and used his authority to dominate HCMLP for his own self-interest; and (h)

Seery conspired with Stonehill and Farallon on the purchase of claims. The UST has not contacted

HCMLP concerning Dondero’s libelous letters.

•       Texas State Security Board: Mark Patrick, as the DAF’s trustee, admitted that the DAF or

“one of its entities” filed a complaint against HCMLP with the Texas State Securities Board (the




111
    Petitioner Hunter Mountain Investment Trust’s Verified Rule 202 Petition, Cause No. DC-23-01004 (Tex. Dist.
191st Jan. 20, 2023), Ex. 72, Appx. 1859-1902.
112
    Order Denying Hunter Mountain Investment Trust’s Verified Rule 202 Petition, Cause No. DC-23-01004 (Tex.
Dist. 191st Mar 8, 2023), Ex. 74, Appx. 2199-2200.
113
    Dugaboy sent its letter to the UST on October 5, 2021. NPA and HCMFA sent letters on November 3, 2021, and
May 11, 2022. The letters can be found at B.D.I. 3662-1.

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“TSSB”) during the Bankruptcy Case. 114 In May 2023, the TSSB, after “full consideration,”

closed its investigation of HCMLP without finding any wrongdoing. 115

         vii      The Pending Actions Prove the Need for Additional Sanctions

         29.      On February 6, 2023, certain of the Dondero Entities filed a motion for leave to file

a complaint against HCMLP seeking information about HCMLP’s current assets, the results of its

asset sales, and the amounts distributed to creditors. 116 While HCMLP objected to certain of the

allegations, it acknowledged that—based on the relief sought—the Gatekeeper was not implicated.

The Dondero Entities then filed their action as an adversary proceeding which will likely be

dismissed as a matter of law. 117

         30.      Separately, in March 2023, HMIT sought leave to sue HCMLP for allegedly

breaching its fiduciary and other obligations to HMIT—a prepetition equity holder. 118 The

Bankruptcy Court held an evidentiary hearing on June 8, 2023, and HCMLP believes HMIT’s

motion for leave will be denied. However, HMIT’s putative complaint is emblematic of the

Dondero Entities’ unceasing litigation—largely (a) restating the litany of false statements in their

letters to the UST about alleged insider trading and (b) seeking to create standing so the Dondero

Entities can re-litigate settled issues (e.g., the HarbourVest settlement).




114
    Ex. 80, Appx. 2840. HMIT cited the DAF’s TSSB complaint to support its allegation that its alleged claims against
HCMLP regarding insider trading were “colorable” and should pass through the Gatekeeper. B.D.I. 3699 ¶ 37 (The
TSSB “opened in investigation into the subject matter of the insider trades at issue” and the “continuing nature of this
investigation underscores HMIT’s position that the claims described in [HMIT’s complaint] are plausible and certainly
far more than ‘colorable.””).
115
    Ex. 78, Appx. 2295-2296 (The TSSB “has completed its review of the complaint … against [HCMLP]. The issues
raised in the complaint and information provided to our Agency were given full consideration, and a decision was
made that no further regulatory action is warranted at this time.”)
116
    B.D.I. 3662; see also B.D.I. 3692, 3771, 3722.
117
    Adv. Proc. No. 23-03038-sgj (Bankr. N.D. Tex. May 10, 2023).
118
    B.D.I. 3699, 3760; see also B.D.I. 3780, 3783, 3815, 3816; Ex. 80, Appx. 2537-2926. A hearing on this motion
was held on June 6, 2023, and it is sub judice.

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        31.      The Dondero Entities’ recent conduct demonstrates that their litigation crusade is

far from over. Instead, it is clear their goal is to file new and ever more frivolous motions and

regulatory actions—like the Texas state court actions, the letters to the UST, and the complaint to

the TSSB—to gin up additional (and baseless) claims against HCMLP and its management.

                                  III.   RELIEF REQUESTED

        32.      HCMLP requests an order (a) deeming the Dondero Entities “vexatious litigants;”

(b) prohibiting them from pursuing, instituting, or commencing, a claim or cause of action of any

kind, including regulatory or administrative actions, against (i) HCMLP, the Highland Claimant

Trust, the Highland Litigation Sub-Trust, and the Highland Indemnity Trust (collectively, the

“Highland Entities”), (ii) any entity directly or indirectly majority-owned and/or controlled by any

Highland Entity, (iii) any entity directly or indirectly managed by any Highland Entity ((i)-(iii),

collectively, the “Highland Parties”), (iv) each of the Highland Parties’ trustees (including, without

limitation, the trustees of the Highland Claimant Trust, Highland Litigation Sub-Trust, and

Highland Indemnity Trust), officers, executives, agents, directors, and employees, (v) the current

and former members of the Oversight Board of the Highland Claimant Trust and their affiliates,

including, without limitation, Farallon, Stonehill, Muck Holdings LLC, and Jessup Holdings LLC,

(vi) the independent board of directors appointed by the Bankruptcy Court on January 9, 2020, and

its members John Dubel, James P. Seery, Jr., and Russell Nelms (in their official capacities), (vii)

James P. Seery, Jr. (in his capacity as CEO/CRO (as such term is defined in the Plan)), (viii) the

Committee and each of its members (in their official capacities), (ix) the professionals (and their

respective firms) retained by HCMLP or the Committee during the Bankruptcy Case and by any

Highland Party thereafter, and (x) any person or entity indemnified by any Highland Entity ((i)-




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(x), collectively, the “Covered Parties”) 119 arising from or related to the Bankruptcy Case or the

management of the Highland Entities or the Highland Entities’ property (collectively, the “Estate

Administration”) without this Court’s prior approval obtained after reasonable notice to the

applicable Covered Parties and a hearing where (1) the Court need not accept the movant’s

allegations as true as if it were adjudicating a motion to dismiss, (2) the movant(s) and putative

defendant(s) may offer evidence to establish or rebut the plausibility of any putative claim(s) and

(3) the movant(s) will have the burden of proving, among any other requirements that this Court

may impose, that (A) the Action (as defined below) presents plausible claims, (B) the Action is

legally and procedurally sound, (C) the Action is not being brought for any improper purpose, such

as harassment, and (D) that the factual support for, and allegations in, the Action are more likely

than not after giving due weight to the movant’s prior legal proceedings, and (c) ordering each

Dondero Entity to file a copy of this Court’s order finding the Dondero Entities vexatious in any

(i) court (whether foreign or domestic), (ii) administrative tribunal, or (iii) administrative or

regulatory agency where any pending or future litigation (including arbitrations and appeals,

proceedings, suits, claims, or actions of any kind (any of the forgoing, an “Action”)) against any

Covered Party concerning Estate Administration is pursued or commenced by any Dondero Entity.




119
   The Covered Parties include, without limitation, HCLOF, Highland Multi Strategy Credit Fund, L.P., Highland
Multi Strategy Credit Fund GP, L.P., Highland Multi Strategy Credit Fund, Ltd., Highland Select Equity Master Fund,
L.P., Highland Select Equity Fund GP, L.P., Highland Select Equity Fund, L.P., Highland Restoration Capital Partners
Master, L.P., Highland Restoration Capital Partners GP, LLC, Highland Restoration Capital Partners, L.P., Gleneagles
CLO, Ltd., Aberdeen Loan Funding, Ltd. Argentina Regional Opportunity Fund, Highland Offshore Partners, L.P.
(Diversified), Brentwood CLO, Ltd., Eastland CLO, Ltd., Bristol Bay Funding Ltd., Jasper CLO Ltd., Highland
Legacy Limited, Grayson CLO, Ltd., Greenbriar CLO, Ltd., Highland Loan Funding V Ltd., Highland Park CDO I,
Ltd., Liberty CLO, Ltd., Valhalla CLO, Ltd., Stratford CLO Ltd., Southfork CLO, Ltd., Pam Capital Funding, L.P.,
Stonebridge-Highland Healthcare Private Equity Fund, Pamco Cayman Ltd., Red River CLO, Ltd., Rockwall CDO II
Ltd., Rockwall CDO, Ltd., Westchester CLO, Ltd. Longhorn Credit Funding A, Longhorn Credit Funding B,
PensionDanmark Pensionsforsikringsaktieselskab, Highland Dynamic Income Master Fund L.P., Highland
Prometheus Master Fund, L.P., Highland Flexible Income UCITS Fund, and Acis CLO 2017-7, Ltd.

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                                              IV.       ARGUMENT

A.       This Court Can Deem Litigants “Vexatious” and Issue Pre-Filing Injunctions

         33.      The Fifth Circuit has on many occasions affirmed lower court orders declaring

litigants “vexatious” and imposing pre-filing injunctions as a sanction against abusive and

harassing litigation. 120 In doing so, the Fifth Circuit has repeatedly held that federal courts (a) have

the inherent power to “sanction a party or attorney when necessary to achieve the orderly and

expeditious disposition of [their] docket[s]” 121 and (b) may exercise their power, and the authority

provided by the All Writs Act (28 U.S.C. § 1651(a)), to deem a litigant “vexatious” and to impose

a pre-filing injunction and any other remedy necessary to stop the vexatious conduct if they find

that the litigant acted in “bad faith.” 122 The Fifth Circuit effectively affirmed its prior holdings in

September 2022 when it all but encouraged HCMLP to move for sanctions and have the Dondero

Entities deemed vexatious. 123

         34.      In the Fifth Circuit, the “traditional standards for injunctive relief—i.e. irreparable

injury and inadequate remedy at law—do not apply to the issuance of a pre-filing injunction against

a vexatious litigant.” 124 Instead, courts apply a four-part test to determine whether to impose a pre-

filing injunction, analyzing: (a) the party’s history of litigation, in particular whether s/he has filed


120
    See, e.g., Bowling v. Willis, 2019 U.S. Dist. LEXIS 168602 (E.D. Tex. Aug. 9, 2019), aff’d 853 F. App’x. 983 (5th
Cir. 2021); Staten v. Harrison Cnty., 2021 U.S. App. LEXIS 35747 (5th Cir. Dec. 2, 2021); Schum v. Fortress Value
Recovery Fund I LLC, 2019 U.S. Dist. LEXIS 226679 at *14-15 (N.D. Tex. Dec. 2, 2019), aff’d 805 F. App’x. 319
(5th Cir. 2020); Caroll v. Abide (In re Carroll), 850 F.3d 811 (5th Cir. 2017); Baum v. Blue Moon Ventures, LLC, 513
F.3d 181 (5th Cir. 2008); Clark v. Mortenson, 93 F. App’x. 643, 645-46 (5th Cir. 2004); Newby v. Enron Corp., 302
F.3d 295 (5th Cir. 2002).
121
    Caroll, 850 F.3d at 815.
122
    Id.; see also Staten, 2021 U.S. App. LEXIS 35747 at *7 (“District court have authority to enjoin vexatious litigants
under the All Writs Act, 28 U.S.C. § 1651. They also have inherent power to impose pre-filing injunctions to deter
vexatious, abusive, and harassing litigation, and they have a constitutional obligation to protect their jurisdiction from
conduct that impairs their ability to carry out their Article III functions.”).
123
    NexPoint, 48 F.4th at 369, n.19 (“Nothing in this opinion should be construed to hinder the bankruptcy court’s
power to enjoin and impose sanctions on Dondero and other entities by following the procedures to designate them
vexatious litigants.”).
124
    Baum, 513 F.3d at 189 (citations omitted).

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vexatious, harassing, or duplicative lawsuits; (b) whether the party had a good faith basis for

pursuing the litigation, or simply intended to harass; (c) the extent of the burden on the courts and

other parties resulting from the party’s filings; and (d) the adequacy of alternative sanctions. 125

         35.      In assessing these factors, courts consider affirmative litigation as well as

objections, appeals, attempts to re-litigate settled issues, and other actions, including regulatory

and defensive actions taken by the vexatious litigant. 126 If relevant, courts may also consider—and

take judicial notice of—actions in other courts or outside of court if they threaten the court’s

jurisdiction or assist in determining bad faith. 127

         36.      The conduct in Caroll is instructive (and less egregious than the Dondero Entities’).

In Carroll, after a trustee was appointed to manage the bankruptcy estate, the Carolls began filing

a “legion” of motions and objections to undermine her mandate. The court found the Carolls

vexatious, highlighting the following, among others, as examples of vexatious conduct: (a)

challenges to, and appeals of, orders authorizing the sale of debtor property, (b) challenging the




125
    Id.
126
    Caroll, 850 F.3d at 815-16 (“Appellants’ suggestion that their conduct was not done in bad faith is belied by their
repeated attempts to litigate issues that have been conclusively resolved against them or that they had no standing to
assert and by their unsupported and multiple attempts to remove … the trustee.”); Clark, 93 F. App’x. at 645-46
(finding multiple lawsuits against receiver for breach of fiduciary duty, conspiracy, embezzlement, mail fraud, and
RICO violations vexatious); Caroll, 2016 U.S. Dist. LEXIS 100930 at *32-33 (M.D. La. Aug. 2, 2016), aff’d 850 F.3d
811 (5th Cir. 2017) (finding appeal of bankruptcy court orders and standing that was “entirely ‘uncertain’” evidence
of vexatiousness); Schum, 2019 U.S. Dist. LEXIS 226679 at *14-15 (finding objections and motions, including motion
to recuse, and appeal of nearly every order vexatious); Alliance Riggers & Constructors, Ltd. v. Restrepo, 2015 U.S.
Dist. LEXIS 29346 at *14-15 (W.D. Tex. Jan. 7, 2015) (holding litigant can be vexatious if a defendant or plaintiff if
“seeks to halt the judicial process with identical meritless filings”).
127
    Payne v. Anthony Scott Law Firm PLLC, 2023 U.S. Dist. LEXIS 89798 at *13-14 (N.D. Tex. May 5, 2023) (“Here,
the Court takes judicial notice of the documents filed in Plaintiff’s bankruptcy proceedings and Judge Jernigan’s
attendant orders to establish the vexatiousness of Plaintiff’s conduct”); Bowling, 2019 U.S. Dist. LEXIS 168602 at
*10-14 (upholding pre-filing injunction based on the “totality of the record” where movant filed three federal cases
seeking to re-litigate or interfere with her state court divorce proceeding); Baum, 513 F.3d at 191 (“The district court
could consider Baum’s conduct in the state court proceedings in determining whether his conduct before the
bankruptcy court was undertaken in bad faith or for an improper motive”); Nix v. Major League Baseball, 2022 U.S.
Dist. LEXIS 104770 at *15-16, 62 (S.D. Tex. Jun. 13, 2022), aff’d 62 F.4th 920 (5th Cir. 2023) (taking judicial notice
of actions filed in other courts and an attempt to strong arm a party with threats of litigation); Schum, 2019 U.S. Dist.
LEXIS 226679 at *15 (considering appeal of FCC approval of bankruptcy sale as evidence of vexatious litigation).

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estate’s ownership of property, resulting in findings of contempt, orders to compel, and denial of

motions to stay, (c) two motions to remove the trustee, and (d) filing a complaint with the UST,

not coincidentally, at the same time the Carolls were seeking to thwart bankruptcy sales. 128 The

court found the Carolls and their daughters (non-debtors who filed actions at the direction of their

parents) “vexatious litigants” and issued a pre-filing injunction. 129

         37.       Finally, and as was done in Caroll (and other cases), a court may enjoin parties in

front of the court and those under such parties’ control or that act in concert with them 130 and may

require that the vexatious litigants file the order deeming them vexatious in any pending or future

proceeding. 131




128
    In re Caroll, 2016 Bankr. LEXIS 937 at *5-27 (Bankr. M.D. La. 2016).
129
    Id. at *34; see also Caroll v. Abide, 2016 U.S. Dist. LEXIS 100930, at *32 (M.D. La. Aug. 2, 2016) (“For years,
then, Appellants have appealed well-founded orders issued by the Bankruptcy Court and thusly delayed (or attempted
to hinder) specific actions by court or trustee which were authorized by either Code or jurisprudence.”); Caroll, 850
F.3d at 815-16 (“As both the bankruptcy court and the district court meticulously explained, Appellants have engaged
in conduct intended to harass and delay. Appellants’ suggestion that their conduct was not done in bad faith is belied
by their repeated attempts to litigate issues that have been conclusively resolved against them or that they had no
standing to assert and by their unsupported and multiple attempts to remove Abide as the trustee.”). The conduct in
Caroll is consistent with conduct other courts have found to be vexatious. See, e.g. Clark, 93 F. App’x. at 645-46;
Schum, 2019 U.S. Dist. LEXIS 226679, at *14-15.
130
    Caroll, 2016 Bankr. LEXIS 937, at *34 (prohibiting litigation filed by the vexatious litigants and “anyone acting
on their behalf”); Clark v. Mortenson, 93 F. App’x. at 654 (prohibiting suits brought “directly and indirectly” by the
vexatious litigants); see also Staten, 2021 U.S. App. LEXIS 35747, at *6-7 (extending pre-filing injunction to protect
certain named parties “and those in privity with them”); see also Restrepo, 2015 U.S. Dist. LEXIS 29346 at *15
(“[O]rders made pursuant to the All Writs Act may be directed not only to the immediate parties to a proceeding, but
also ‘to person who, though not parties to the original action or engaged in wrongdoing, are in a position to frustrate
the implementation of a court order or the proper administration of justice.’”) (citing Williams v. McKeithen, 939 F.2d
1100, 1104 (5th Cir. 1991).
131
    Baum, 513 F.3d at 191 (“[T]he Second Circuit … upheld those provisions of the injunction requiring Martin-
Trigona to alert state courts of his history of vexatious filings in federal courts.”); Nix v. Major League Baseball, 2022
U.S. Dist. LEXIS 104770 at *70 (“The court also orders Nix to file a copy of this opinion with any filing that he makes
in any other court”); see also Silver v. City of San Antonio, 2020 U.S. Dist. LEXIS 118643, at *31-32 (W.D. Tex. Jul.
7, 2020) (requiring vexatious litigant file in any court a notice listing every sanction imposed or sanction warning
issued and each order imposing sanctions or issuing a sanctions warning and alert state courts of history of vexatious
federal filings); Marinez v. Wells Fargo Bank, N.A., 2013 U.S. Dist. LEXIS 208591, at *14 (W.D. Tex. May 31, 2013)
(“[P]laintiff will disclose the contents of this order and the outcome of every previously filed suit related to the subject
property that was previously filed by her.”)

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B.       This Court Has Jurisdiction Over This Court and the Bankruptcy Court

         38.      As discussed in Schum and affirmed by the Fifth Circuit, district courts, which sit

as courts of review over bankruptcy courts, have the inherent authority to enjoin filings in both the

district court and in the bankruptcy courts. Orders issued by the Bankruptcy Court are appealed to

this Court pursuant to 28 U.S.C. § 158(a). Similarly, this Court is required by 28 U.S.C. § 157(c)(1)

to review the Bankruptcy Court’s proposed findings of fact and conclusions of law with respect to

“non-core” matters and any objections thereto. Accordingly, events in the Bankruptcy Court

directly affect this Court’s jurisdiction. This Court may take judicial notice of events and filings

in the Bankruptcy Court to establish the Dondero Entities’ vexatiousness 132 and enjoin future

filings in this Court and the Bankruptcy Court. 133

C.       HCMLP Satisfies the Four-Part Test for Obtaining a Pre-Filing Injunction

         39.      Based on the Dondero Entities’ actions, HCMLP has established each element of

the Fifth Circuit’s four-part test for obtaining a pre-filing injunction.

i        History of Vexatious and Harassing Litigation

         40.      HCMLP easily meets the first prong: history of litigation. As set forth above, the

Dondero Entities’ vindictive litigation crusade against HCMLP has continued for over two years

without limit. The Dondero Entities have objected to everything, filed (and then sometimes

abandoned) baseless claims, pursued claims in other forums to evade the Bankruptcy Court, and

appealed every adverse ruling regardless of the merits, the evidence, the standard on appeal,




132
    See, e.g., Payne, 2023 U.S. Dist. LEXIS 89798 at *13-14.
133
    Schum, 2019 U.S. Dist. LEXIS 226679 at *12-13 (“[A] court may issue injunctive relief … in aid of its appellate
jurisdiction over the bankruptcy court … Appellees seek injunctive relief prohibiting Appellant from making future
filings related to [two bankruptcy court proceedings]. Those filings, when decided and if appealed, will affect the
Court’s future appellate jurisdiction over those bankruptcy proceedings. Accordingly, the Court has the jurisdiction to
order the requested relief.”).

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whether they have standing, or whether the appeal is economically rational. The Dondero Entities’

recent conduct shows they have no intent to stop their harassment.

         41.      Nor is the Dondero Entities’ strategy new; they are still locked in vociferous,

decade-long litigation with UBS, Daugherty, and Terry and Acis notwithstanding the adverse

rulings—and harsh criticisms—issued against them. The Dondero Entities have a long and storied

history of vexatious litigation—a history so infamous the insurance industry generally refuses to

insure against it.

ii       Lack a Good-Faith Basis for Pursuing the Litigation

         42.      HCMLP also satisfies the second prong: lack of good faith. The Dondero Entities’

relentless litigation is simply the execution of Dondero’s stated plan to “burn down the place” after

he failed to impose his will and re-take control of HCMLP and his personal threat against Seery—

“Be careful what you do, last warning.” The Dondero Entities’ actions led the Bankruptcy Court

to find their litigation was “designed merely to harass,” resulted in two contempt orders and two

restraining orders, multiple admonishments (including from this Court), and caused the Fifth

Circuit to sua sponte suggest deeming the Dondero Entities vexatious litigants. Unrepentant and

unrestrained, the Dondero Entities continue to appeal nearly every adverse ruling, seek information

to manufacture more baseless claims, and attempt to re-litigate settled issues in other forums. 134

         43.      The Dondero Entities are the only parties litigating with HCMLP. All others have

resolved their claims and await distributions under the confirmed Plan—confirmed with the




134
    By way of example, the Dondero Entities challenged the HarbourVest settlement in the Bankruptcy Court and then
in this Court. When those efforts proved unsuccessful (and led to a finding of contempt), the Dondero Entities sent
letters to the UST, sought pre-suit discovery in Texas state courts to challenge the HarbourVest settlement, and filed
a complaint with the TSSB. See ¶ 28 supra. The Dondero Entities also challenged the same settlement in the state and
federal courts of New York and in the Guernsey Royal Court in connection with their litigation against Acis and Terry.
See n.13 supra.

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approval of 99.8% of creditors in amount. The Dondero Entities’ conduct in this case (and prior

cases), and their attempts to “burn down the place,” evinces their lack of good faith.

iii        Burden on the Court System and HCMLP

           44.      The third prong of the test—burden on the courts and HCMLP—is easily met. In

the Bankruptcy Court, the Dondero Entities filed 52 prepetition claims (not one of which was

ultimately allowed), 85 motions, 79 objections, and forced HCMLP to file 9 adversary proceedings

against them. The Dondero Entities appealed nearly every adverse ruling from the Bankruptcy

Court to this Court and, when unsuccessful, to the Fifth Circuit, resulting in nearly 30 appeals. The

burden created on the court system is enormous. So is the burden on HCMLP. HCMLP spent

substantial sums litigating with the Dondero Entities and, in fact, procured exit financing, in large

part, to fund its defense of the Dondero Entities’ litigation. 135

iv         Alternative Sanctions Are Inadequate to Deter the Conduct

           45.      Finally, the Dondero Entities have shown that previous sanctions are inadequate.

They have been enjoined twice; their violations of Bankruptcy Court orders have led to two

contempt findings and monetary sanctions.

           46.      In order to protect HCMLP and its court-appointed management, the Bankruptcy

Court issued the January and July Orders and approved the Gatekeeper. The Dondero Entities

violated the July Order, and, notwithstanding the Fifth Circuit’s affirmance of the Gatekeeper, its

finding that the January and July Orders were res judicata, and the Bankruptcy Court’s order

conforming the Plan, the Dondero Entities still seek to overturn the protections afforded HCMLP

and its estate—appealing the order on the motion to conform in a second attempt to overturn the

Gatekeeper. Not content with waiting for the Fifth Circuit, the Dondero Entities are already



135
      B.D.I. 2229, 2503. The Dondero Entities objected to the exit financing. B.D.I. 2403, 2467.

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contending that the Fifth Circuit actually limited the Gatekeeper in their efforts to overturn the

July Order 136 and tried to circumvent the Gatekeeper by attempting to conscript the UST, the Texas

state courts, and the TSSB in their crusade against Seery and HCMLP.

           47.      The Dondero Entities are actively challenging the Gatekeeper (and the other orders

protecting HCMLP’s management) in the hope of flooding the courts with additional litigation;

the current sanctions are inadequate to protect the estate.

                                         V.     CONCLUSION

           48.      WHEREFORE, HCMLP respectfully requests that this Court (a) grant the Motion

and (i) deem the Dondero Entities vexatious litigants; (ii) issue a pre-filing injunction prohibiting

the Dondero Entities from instituting, commencing, or pursuing a claim or cause of action of any

kind against any Covered Party related to the Estate Administration without obtaining Prior

Approval; (iii) grant the other relief requested in paragraph 32 supra; and (b) grant such other and

further relief as the Court deems just and proper.

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136
      See n. 39 supra.

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